                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE


         ANTHONY LAMONT SINGLETON,                    )
                            Petitioner,               )
                                                      )
                 v.                                   )       Nos. 2:12-cr-58, 2:16-cv-199
                                                      )       Judge Greer
         UNITED STATES OF AMERICA,                    )
                              Respondent.             )


                      RESPONSE IN OPPOSITION TO PETITIONER’S
                      MOTION FILED PURSUANT TO 28 U.S.C. § 2255

         The United States of America opposes petitioner’s motion to vacate, set aside, or correct

  his sentence pursuant to 28 U.S.C. § 2255. Petitioner has not established any basis upon which

  § 2255 relief could be granted, so his motion should be denied.

                           FACTUAL AND PROCEDURAL HISTORY

         Petitioner pleaded guilty and was convicted of possessing a firearm as a convicted felon,

  in violation of 18 U.S.C. § 922(g). (R. 31, Judgment.) Based on his prior Tennessee convictions

  for selling cocaine and committing aggravated assault, his base offense level was 24, pursuant to

  U.S.S.G. § 2K2.1(a)(2). 1 (Presentence Report at ¶¶ 18, 41, 52.) The Court ultimately sentenced

  petitioner to 110 months’ imprisonment, at the bottom of the Guidelines range applicable to him.

  (Id. at ¶ 103; R. 31, Judgment.) Petitioner sought to appeal, despite the appeal-waiver provision

  in his plea agreement, and the Sixth Circuit affirmed his conviction and sentence in May 2014.

  (R. 42, Sixth Circuit Order.)



         1
           The Guidelines set a general base offense level of 14 for violating 18 U.S.C. § 922(g).
  U.S.S.G. § 2K2.1(a)(6). For offenders with one prior conviction for either a “crime of violence”
  or “controlled substance offense,” the base offense level increases to 20. U.S.S.G. § 2K2.1(a)(4).
  Offenders with two such convictions have a base offense level of 24. U.S.S.G. § 2K2.1(a)(2).



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         More than two years later, in June 2016, petitioner filed a motion pursuant to 28 U.S.C.

  § 2255, seeking a lesser sentence in light of Johnson v. United States, 135 S. Ct. 2551 (2015).

  (R. 46, § 2255 Motion.) The United States now responds.

                                     STANDARD OF REVIEW

         The relief authorized by 28 U.S.C. § 2255 “does not encompass all claimed errors in

  conviction and sentencing.” United States v. Addonizio, 442 U.S. 178, 185 (1979). Rather, to

  obtain relief, a petitioner must establish (1) an error of constitutional magnitude; (2) a sentence

  outside the statutory limits; or (3) an error of fact or law so fundamental as to render the entire

  proceedings invalid. Moss v. United States, 323 F.3d 445, 454 (6th Cir. 2003). He “must clear a

  significantly higher hurdle than would exist on direct appeal” and show a “fundamental defect in

  the proceedings which necessarily results in a complete miscarriage of justice or an egregious

  error violative of due process.” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

                                             ARGUMENT

         Petitioner claims that his aggravated assault conviction no longer qualifies as a crime of

  violence post-Johnson and that he is thus entitled to resentencing. (R. 46, § 2255 Motion at 4.)

  However, the rule upon which he relies—the rule announced in Johnson—is procedural as

  applied to the Guidelines and thus does not apply retroactively on collateral review. Moreover,

  his aggravated assault conviction was, and still remains, a crime of violence under both the

  enumerated-offense and use-of-force clauses, so Johnson’s invalidation of the residual clause

  does not alter his sentence in any way. Petitioner’s motion should be denied as meritless.

  1.     As applied to the Guidelines, the rule announced in Johnson is procedural
         and thus does not apply retroactively on collateral review.

         Petitioner seeks a lesser sentence in light of the Supreme Court’s determination in

  Johnson that “imposing an increased sentence under the residual clause of the Armed Career

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  Criminal Act [(“ACCA”), 18 U.S.C. § 924(e),] violates the Constitution’s guarantee of due

  process.” 2 135 S. Ct. at 2563. Although the Supreme Court expressly limited its analysis to

  the residual clause of the ACCA, id., the Sixth Circuit later determined that Johnson’s holding

  “applies equally to the residual clause of the [crime-of-violence definition in the] Guidelines”

  and renders that clause unconstitutionally vague. 3 United States v. Pawlak, 822 F.3d 902, 911

  (6th Cir. 2016); but see Beckles v. United States, 136 S. Ct. 2510 (2016) (granting certiorari

  to resolve, inter alia, whether Johnson’s holding applies to the residual clause of U.S.S.G.

  § 4B1.2(a)(2)). Significantly, Pawlak involved applying Johnson on direct review to a

  Guidelines sentence that was not yet final. Pawlak, 2016 WL 2802723, at *1.

         Because petitioner’s judgment has already become final, Johnson could only make him

  eligible for § 2255 relief if it announced a rule that the Supreme Court has made retroactively

  applicable to the Guidelines on collateral review. E.g., Schriro v. Summerlin, 542 U.S. 348, 351

  (2004). Petitioner has not shown, and Pawlak did not hold, that Johnson applies retroactively

  to the Guidelines on collateral review. See generally In re Griffin, 823 F.3d 1350, 1355-56 (11th

  Cir. 2016) (finding that applying Johnson to the Guidelines would result in a new procedural rule



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           The ACCA requires a fifteen-year minimum sentence for a felon who unlawfully
  possesses a firearm after having sustained three prior convictions “for a violent felony or a
  serious drug offense, or both.” 18 U.S.C. § 924(e)(1). The statute defines “violent felony”
  as “any crime punishable by imprisonment for a term exceeding one year” that (1) “has as an
  element the use, attempted use, or threatened use of physical force against the person of another”
  (the “use-of-force clause”); (2) “is burglary, arson, or extortion, involves use of explosives”
  (the “enumerated-offense clause”); or (3) “otherwise involves conduct that presents a serious
  potential risk of physical injury to another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B).
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            The relevant Guidelines define “crime of violence” as “any offense . . . punishable by
  imprisonment for a term exceeding one year” that (1) “has as an element the use, attempted use,
  or threatened use of physical force against the person of another” (the “use-of-force clause”);
  (2) “is burglary of a dwelling, arson, or extortion, [or] involves use of explosives” (the
  “enumerated-offense clause”); or (3) “otherwise involves conduct that presents a serious
  potential risk of physical injury to another” (the “residual clause”). U.S.S.G. § 4B1.2(a).
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  that does not apply retroactively on collateral review); accord Frazier v. United States, No. 1:09-

  cr-188, 2016 WL 885082, at *4-*6 (E.D. Tenn. Mar. 8, 2016) (Collier, J.) (same). But see In re

  Hubbard, 825 F.3d 225 (4th Cir. 2016) (finding that applying Johnson to the Guidelines results

  in a new substantive rule that applies retroactively on collateral review).

         When the Supreme Court announces a new rule of constitutional law, that rule only

  applies on collateral review “in limited circumstances.” Schriro, 542 U.S. at 351. One of those

  limited circumstances is when the rule is substantive—i.e., “it alters the range of conduct or the

  class of persons that the law punishes,” id. at 353—because “[n]ew substantive rules generally

  apply retroactively.” Id. at 351; accord Montgomery v. Louisiana, 136 S. Ct. 718, 729 (2016)

  (“[T]he Constitution requires substantive rules to have retroactive effect regardless of when a

  conviction became final.”). New rules that are procedural—i.e., ones that “regulate only the

  manner of determining the defendant’s culpability”—do not usually apply retroactively. Schriro,

  542 U.S. at 353; accord Teague v. Lane, 489 U.S. 288, 310 (1989) (“Unless they fall within an

  exception to the general rule, new constitutional rules of criminal procedure will not be

  applicable to those cases which have become final before[hand].”). New procedural rules only

  apply retroactively if they are “watershed” rules which “implicat[e] the fundamental fairness and

  accuracy of the criminal proceeding.” 4 Saffle v. Parks, 494 U.S. 484, 495 (1990); accord

  Bousley v. United States, 523 U.S. 614, 620 (1998) (finding “no reason to apply [a] rule

  retroactively on habeas review” unless its absence would “seriously diminish” the “likelihood

  of an accurate conviction.”). Whether a new rule is substantive or procedural turns on the

  “function of the rule at issue.” Welch v. United States, 136 S. Ct. 1257, 1266 (2016).



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            “The only example of such a watershed rule ever cited by [the Supreme Court] is the
  right to counsel, as set forth in Gideon v. Wainwright, 372 U.S. 335 (1963).” Fulcher v. Motley,
  444 F.3d 791, 815 (6th Cir. 2006).
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         The function of the Johnson rule is markedly different in the Guidelines context than in a

  case involving the erroneous imposition of a sentence under the ACCA. In the ACCA context,

  sentencing a defendant based on the residual clause functions to raise the statutory minimum

  and maximum terms of imprisonment so that the defendant is exposed to a wholly new and

  unauthorized range of sentencing options. Welch, 136 S. Ct. at 265. That error directly

  implicates the separation-of-powers principle that federal courts may not impose sentences

  unauthorized by Congress. See id. at 1268 (“[A] court lacks the power to exact a penalty that has

  not been authorized by any valid criminal statute.”). As such, applying Johnson to the ACCA

  alters the “substantive reach” of the statute and thereby creates a new substantive rule. Id. at

  1265; accord In re Watkins, 810 F.3d 375, 383-84 (6th Cir. 2015). Application of Johnson to the

  Guidelines, however, does not functionally result in a substantive change in the law. “Unlike the

  ACCA—a statute that shifts the defendant’s penalty range and minimum and maximum terms of

  imprisonment—the Guidelines merely guide the execution of a court’s discretion in selecting the

  appropriate sentence from within an otherwise stagnate range of lawful penalties.” Frazier, 2016

  WL 885082 at *5. The Guidelines “do not require a district court to give a defendant a higher

  sentence, nor do they allow a judge to impose a harsher sentence that was necessarily unavailable

  before. The[y] merely advise a district court how to wield its discretion.” United States v.

  Cooper, 739 F.3d 873, 884 (6th Cir. 2014). Indeed, Guidelines sentences must always be within

  the limits set by Congress. See Mistretta v. United States, 488 U.S. 361, 396 (1989) (Sentencing

  Guidelines only operate “within the broad limits established by Congress”).

         An erroneous application of the Guidelines—or a sentence imposed pursuant to the

  Guidelines’ residual clause—does not result in a sentence outside the statutory boundaries set by

  Congress. See, e.g., Sun Bear v. United States, 644 F.3d 700, 705 (8th Cir. 2011) (en banc)



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  (explaining that a 360-month sentence imposed pursuant to an erroneous career-offender

  classification was “not unlawful” because “[a]n unlawful or illegal sentence is one imposed

  without, or in excess of, statutory authority”); In re Griffin, 823 F.3d at 1355 (“An error in

  calculating a defendant’s guidelines sentencing range does not (and could not) alter the statutory

  sentencing range set by Congress for the crime within which the sentencing court may impose

  a sentence, and it would not (and could not) produce a sentence that exceeds the statutory

  maximum.”). Because a Guidelines provision cannot “mandate or authorize any sentence,”

  Welch, 136 S. Ct. at 1265, an erroneous Guidelines calculation does not result in a sentence

  outside the statutorily-authorized range. The function of the Guidelines range is to provide a

  framework for the sentencing court’s exercise of discretion under 18 U.S.C. 3553(a). It relates

  to the “manner of determining” the defendant’s sentence, Welch, 136 S. Ct. at 1265, which is the

  function of a procedural rather than a substantive rule. See, e.g., Humphress v. United States,

  398 F.3d 855, 862 (6th Cir. 2005) (finding that the rule announced in United States v. Booker,

  543 U.S. 220 (2005)—i.e., that Guidelines are merely advisory and not mandatory—is a non-

  watershed, procedural rule); Goode v. United States, 305 F.3d 378, 385 (6th Cir. 2002) (finding

  that the rule announced in Apprendi v. New Jersey, 530 U.S. 466 (2000)—i.e., that any fact

  (other than a prior conviction) which increases a statutory penalty range must be found by a jury

  beyond a reasonable doubt—is a non-watershed, procedural rule).

         The new procedural rule that results from extending Johnson’s holding to the Guidelines

  is not “watershed,” because an error in calculating an advisory Guidelines range does not render

  the resulting sentence unfair or unreliable in the way that a complete deprivation of the right to

  counsel renders a trial unfair and unreliable. See, e.g., Spencer v. United States, 773 F.3d 1132,

  1143 (11th Cir. 2014) (en banc) (noting that even a “substantively unreasonable sentence does



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  not result in a ‘complete miscarriage of justice’ if that sentence is less than the statutory

  maximum sentence Congress has enacted”). Johnson did not recognize, for the first time,

  that the due process clause prohibits vague penal laws; rather, it merely extended that well-

  recognized constitutional principle, see, e.g., Lanzetta v. New Jersey, 306 U.S. 451, 458 (1939),

  to hold a particular statutory enhancement unconstitutionally vague. See Johnson, 135 S. Ct. at

  2577. New rules that merely apply a pre-existing legal principle in a new context do not “effect

  a sea change in criminal procedure comparable to that wrought by Gideon.” Panetti v. Stephens,

  727 F.3d 398, 414 (5th Cir. 2013).

         In sum, while Johnson effected a substantive change in the law by altering the range of

  lawful sentences under the ACCA, extension of that same reasoning to the Guidelines only

  results in procedural changes to the sentencing process. In re Griffin, 2016 WL 3002293 at *5;

  accord Frazier, 2016 WL 885082 at *6. As such, Johnson does not apply retroactively on

  collateral review of Guidelines sentences. See In re Rivero, 797 F.3d 986, 989 (11th Cir. 2015)

  (“Even if we assume that the new substantive rule announced in Johnson also applies to the

  residual clause of section 4B1.2(a)(2) of the Sentencing Guidelines, . . . [n]o combination of

  holdings of the Supreme Court ‘necessarily dictate’ that Johnson should be applied retroactively

  on collateral review”); In re Gieswein, 802 F.3d 1143, 1147-48 (10th Cir. 2015) (same);

  Richardson v. United States, 623 F. App’x 841, 842 (8th Cir. 2015) (denying authorization to

  pursue a Johnson-based successive 28 U.S.C. § 2255 challenge to a defendant’s Guidelines range

  calculation because Johnson did not announce a substantive rule with respect to the Guidelines).

  Johnson does not provide a basis on which petitioner can seek § 2255 relief.




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  2.     In any event, Johnson does not alter petitioner’s Guidelines range in any way.

         Johnson only invalidated the residual clause of the Guidelines. Pawlak, 822 F.3d at 911;

  accord Johnson, 135 S. Ct. at 2563 (“Today’s decision does not call into question application of

  the [ACCA] to the four enumerated offenses, or the remainder of the Act’s definition of a violent

  felony.”); United States v. Smith, 817 F.3d 492, 493 (6th Cir. 2016) (rejecting vagueness

  challenge to the ACCA’s enumerated-offense clause). Offenses that qualify as crimes of

  violence under either the Guidelines’ use-of-force clause or the enumerated-offense clause

  remain qualifying predicates post-Johnson. See, e.g., United States v. Priddy, 808 F.3d 676, 683

  (6th Cir. 2015) (post-Johnson, “a defendant can still receive an ACCA-enhanced sentence based

  on the statute’s use-of-force clause or enumerated-offense clause”). Moreover, Johnson “has no

  bearing” on the designation of drug convictions as predicate offenses. United States v. Darling,

  619 F. App’x 877, 880 n.5 (11th Cir. 2015); accord United States v. Jenkins, 613 F. App’x 754,

  755 (10th Cir. 2015).

         Petitioner does not dispute that his prior convictions for selling cocaine constitute a

  controlled substance offense as defined by U.S.S.G. § 4B1.2(b); he argues only that a conviction

  used to support a § 2K2.1 enhancement was “treated as a ‘crime of violence’ under the residual

  clause.” (R. 46, § 2255 Motion at 4.) He necessarily refers to his aggravated assault conviction.

         That conviction qualifies as a crime of violence under both the enumerated-offense and

  use-of-physical-force clauses. Aggravated assault is specifically listed in the Guidelines’

  authoritative commentary as a crime of violence, U.S.S.G. § 4B1.2, cmt. n.1, and the Sixth

  Circuit has specifically held that the knowing/intentional variant of Tennessee aggravated assault

  satisfies the “generic definition of aggravated assault” and thus “qualifies as a crime of violence

  under Application Note 1 of U.S.S.G. § 4B1.2.” United States v. Cooper, 739 F.3d 873, 878 (6th



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  Cir. 2014). The knowing/intentional variant of Tennessee aggravated assault also categorically

  qualifies as a violent felony under the use-of-force clause. Braden v. United States, 817 F.3d

  926, 933 (6th Cir. 2016). Tennessee defines the offense of aggravated assault, in relevant part,

  by stating that a person commits the offense if he

         (1)     Intentionally or knowingly commits an assault as defined in § 39-13-101 and:
                 (A)     Causes serious bodily injury to another; or
                 (B)     Uses or displays a deadly weapon; or

         (2)     Recklessly commits an assault as defined in § 39-13-101(a)(1), and:
                 (A)    Causes serious bodily injury to another; or
                 (B)    Uses or displays a deadly weapon.

  Tenn. Code Ann. § 39-13-102(a). Tennessee law provides that a violation of “subdivision (a)(1)

  . . . is a Class C felony,” while a violation of “subdivision (a)(2) is a Class D felony.” Tenn.

  Code Ann. § 39-13-102(d)(1). The statute is divisible because it lists several different variants of

  the offense. See, e.g., Cooper, 739 F.3d at 879 (recognizing that Tenn. Code. Ann. “§ 39-13-102

  can be offended in a number of ways”).

         Although the Sixth Circuit has held that the Class D variant does not qualify because it

  only requires reckless conduct, United States v. McMurray, 653 F.3d 367, 375 (6th Cir. 2011),

  the Class C variant clearly qualifies under the use-of-physical-force clause because it contains

  as an element either the use or threatened use of violent force: a defendant must knowingly or

  intentionally commit an assault which either (A) causes serious bodily injury to another,

  or (B) is accomplished by the use or display of a deadly weapon. The first of those options

  necessarily involves the use of violent force, since Tennessee defines “serious bodily injury”

  as “bodily injury which involves: (A) [a] substantial risk of death; (B) [p]rotracted

  unconsciousness; (C) [e]xtreme physical pain; (D) [p]rotracted or obvious disfigurement; or

  (E) [p]rotracted loss or substantial impairment of a function of a bodily member, organ or mental



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   faculty.” Tenn. Code Ann. § 39-11-106(34). Causing such an injury necessarily requires the use

   of violent force—i.e., force that is capable of causing physical pain or injury. See United States

   v. Anderson, 695 F.3d 390, 400 (6th Cir. 2012) (“We hold that one can knowingly cause serious

   physical harm to another only by knowingly using force capable of causing physical pain or

   injury, i.e., violent physical force.”); accord De Leon Castellanos v. Holder, 652 F.3d 762, 766

   (7th Cir. 2011). Similarly, a conviction under the deadly weapon variant necessarily involves

   the use or threatened use of violent force, since a “deadly weapon” is a “firearm or anything

   manifestly designed, made or adapted for the purpose of inflicting death or serious bodily injury;

   or . . . [a]nything that in the manner of its use or intended use is capable of causing death or

   serious bodily injury.” Tenn. Code. Ann. § 39-11-106(5). Use of such a weapon necessarily

   involves the use of force that is capable of causing physical injury to another—i.e., violent

   force—and merely displaying such a weapon during an assault is a threatened use of that same

   violent force. See United States v. Arender, 560 F. App’x 648, 649 (8th Cir. 2014) (finding that

   a Tennessee aggravated assault conviction based on the display of a deadly weapon had “as an

   element the threatened use of physical force against another person”).

          In sum, any Class C felony conviction for Tennessee aggravated assault necessarily

   involves the use or threatened use of violent force, and state conviction records unequivocally

   establish that petitioner was convicted of the Class C variant—i.e., the knowing/intentional

   variant—of Tennessee aggravated assault. (See Judgment, attached.) As a result, Johnson

   does not affect the calculation of petitioner’s base offense level in any way.




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                                             CONCLUSION

          In sum, petitioner has not established any basis on which § 2255 relief could be granted.

   Accordingly, his § 2255 motion should be denied as meritless.

                                                          Respectfully submitted,

                                                          Nancy Stallard Harr
                                                          United States Attorney

                                                  By:      s/ J. Gregory Bowman
                                                          J. Gregory Bowman
                                                          Assistant United States Attorney



                                    CERTIFICATE OF SERVICE

          I certify that on August 24, 2016, this response was filed electronically, and notice of its

   filing will be sent by operation of the Court’s electronic filing system to all parties indicated on

   the electronic filing receipt. A copy was also sent to petitioner by regular United States mail,

   postage prepaid, addressed as follows:

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                                                           s/ J. Gregory Bowman
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